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 7
 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) CR. No. S-08-294-EJG
                                     )
12                  Plaintiff,       ) STIPULATION AND ORDER TO CONTINUE
                                     ) TRIAL DATE AND TO EXCLUDE TIME
13        v.                         )
                                     )
14   KATHLEEN DELAPP,                )
     MELISSA VILLEGAS, and           )
15   RICK VILLEGAS,                  )
                                     )
16                  Defendants.      )
                                     )
17   _______________________________ )
18                                        STIPULATION
19           IT IS HEREBY STIPULATED AND AGREED among the parties and their
20   respective counsel,1 as follows:
21           Lead defendant Robert Martinson pleaded guilty on January 8,
22   2010.       At a status conference on January 22, 2010, as to the
23   remaining three defendants, the defendants moved for a trial date
24   of Monday, September 20, 2010.           The government did not oppose that
25
             1
26         Russell L. Carlberg, Assistant U.S. Attorney, representing
     plaintiff United States of America; William Portanova, attorney for
27   defendant Kathleen Delapp; Bruce Locke, attorney for defendant
     Melissa Villegas; and Timothy Warriner, attorney for defendant Rick
28   Villegas.

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 1   motion, which the Court granted.         A trial confirmation hearing was
 2   set for Friday, August 27, 2010.         Time under the Speedy Trial Act
 3   was excluded through September 20, 2010, for defense preparation.2
 4        Partly as a result of defendant Martinson’s cooperation, since
 5   the end of January the government has conducted further
 6   investigation and trial preparation work.          Mortgage loan files,
 7   escrow files, and related documents have been obtained and provided
 8   in discovery.      Approximately a dozen additional witnesses have been
 9   identified and their statements are being provided to the defense.
10   As of the status conference of January 22, 2010, the government had
11   produced 6,853 pages of discovery.          Since that date, the government
12   has produced 8,198 pages of additional discovery, for a total of
13   15,051 pages.      The government anticipates producing additional
14   documents within the next several weeks.
15        Further investigation has revealed the potential culpable
16   involvement of several persons who are presently uncharged.              The
17   government believes that this involvement includes the use of shell
18   entities and the routing of proceeds to straw buyers and others.
19   It involves sophisticated conduct both in this district and another
20   district.     In short, since defendant Martinson’s cooperation, the
21   case has at least doubled in size and complexity.
22        The government can be ready to try the case as charged on
23   September 20, 2010.       But defense counsel are all agreed that they
24   need more time to review the new material and prepare the case.
25   The government recognizes that defense counsel reasonably need more
26   time to review this complex evidence.
27
28        2
           See Docket #78 [MINUTES] in this case.

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 1        Also, the parties are mindful of the Court’s rule disfavoring
 2   resolution of cases after the Trial Confirmation Hearing.             Given
 3   the new evidence, the parties also require additional time to
 4   explore potential pretrial resolution of the case as to these
 5   particular defendants.
 6        The government has confirmed with the relief Courtroom Deputy
 7   that a trial date of Monday, January 10, 2011, at 8:30 a.m., is
 8   currently available on the Court’s calendar.        A Trial Confirmation
 9   Hearing of Friday, December 17, 2010, at 10 a.m., is also
10   available.   The government presently estimates it could try its
11   case-in-chief in approximately a dozen court days.
12        The parties therefore stipulate and respectfully request that
13   the Trial Confirmation Hearing presently set for Friday, August 27,
14   2010, be vacated; that the Trial Date of September 20, 2010, be
15   vacated; that the matter be re-set for Trial Confirmation Hearing
16   on Friday, December 17, 2010, at 10 a.m., with a new Trial Date of
17   January 10, 2011, at 8:30 a.m.; and that the Court exclude time
18   under the Speedy Trial Act from the date of this Order through and
19   including January 10, 2011, for both defense preparation, 18 U.S.C.
20   § 3161 (h)(7)(B)(iv) [Local Code T4], and for case complexity, 18
21   U.S.C. § 3161 (h)(7)(B)(ii) [Local Code T2].
22
     DATE: August 18, 2010            BENJAMIN B. WAGNER
23                                    United States Attorney
24
                                By:    Russell L. Carlberg
25                                    RUSSELL L. CARLBERG
                                      Assistant United States Attorney
26
27   DATE: August 18, 2010             William Portanova*
                                      WILLIAM PORTANOVA
28                                    Attorney for KATHLEEN DELAPP

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 1   DATE: August 18, 2010             Bruce Locke*
                                      BRUCE LOCKE
 2                                    Attorney for MELISSA VILLEGAS
 3
 4   DATE: August 18, 2010             Timothy Warriner*
                                      TIMOTHY WARRINER
 5                                    Attorney for RICK VILLEGAS
 6
     *Signed by permission granted via e-mail.
 7
 8                                      ORDER
 9        Having considered the representations of counsel and the
10   record in this case, the Court hereby VACATES both the trial date
11   of September 20, 2010, and the Trial Confirmation Hearing of August
12   27, 2010.
13        The Court ORDERS that the trial as to defendants Kathleen
14   DeLapp, Melissa Villegas, and Rick Villegas, now be set for January
15   10, 2011, at 8:30 a.m..    The matter is also ordered set for a Trial
16   Confirmation Hearing on December 17, 2010, at 10 a.m.
17        The Court finds that the interests of justice outweigh the
18   best interests of the public and the defendants in a speedy trial.
19   18 U.S.C. § 3161(h)(7)(A).     Time, therefore, will be excluded as to
20   all defendants from the date of this Order, through and including
21   January 10, 2011, on the basis of (1) reasonable preparation of
22   defense counsel taking into account the exercise of due diligence,
23   18 U.S.C. § 3161 (h)(7)(B)(iv) [Local Code T-4], and (2) case
24   complexity, 18 U.S.C. § 3161 (h)(7)(B)(ii) [Local Code T-2].
25   IT IS SO ORDERED.
26
     DATED: August 23, 2010
27                                     /s/
                                      HON. EDWARD J. GARCIA
28                                    United States District Judge

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